      Case[11/15/04]
 CSD 1000A 18-06044-LT11             Filed 07/26/19       Entered 07/29/19 11:30:53           Doc 345      Pg. 1 of 2
 Name, Address, Telephone No. & I.D. No.
 DAVID ORTIZ, ATTORNEY #167587
 TRIAL ATTORNEY
 OFFICE OF THE UNITED STATES TRUSTEE
 880 FRONT STREET, SUITE 3230                                                                    July 29, 2019
 SAN DIEGO, CA 92101
 (619) 557-5013
          UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF CALIFORNIA
       325 West “F” Street, San Diego, California 92101-6991

 In Re                                                                      Bankruptcy No. 18-06044-LT11
 JESSE WAYNE DAWBER, [Jointly Administered with 19-00293-LT11               [Lead case]
 CLASS WAR, INC.,]                                                          Date of Hearing: July 19, 2019
 [x] AFFECTS CLASS WAR, INC., ONLY.                                         Time of Hearing: 10:00 a.m.
                                         Debtors.                           Name of Judge: Hon. LAURA S. TAYLOR



                          ORDER EXPANDING POWERS OF CHAPTER 11 EXAMINER


            IT IS ORDERED THAT the relief sought as set forth on the continuation pages attached and numbered two (2)

through _2_ with exhibits, if any, for a total of _2_ pages, is granted. Motion/Application Docket Entry No._196 _.



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DATED: July 26, 2019                                                                 Judge, United States Bankruptcy Court




 Signature by the attorney institues a certification under
 Fed. R. of Bankr. P. 9011 that the relief in the order is the
 relief granted by the court.

 Submitted by:

 OFFICE OF THE UNITED STATES TRUSTEE

 By: /s/ DAVID ORTIZ
       DAVID ORTIZ
   Trial Attorney for the Acting United States Trustee




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     Case 18-06044-LT11 Filed 07/26/19           Entered 07/29/19 11:30:53       Doc 345       Pg. 2 of 2
CSD 1001A [11/15/04] (Page 2)
 ORDER EXPANDING POWERS OF CHAPTER 11 EXAMINER
 DEBTORS: JESSE WAYNE DAWBER,                                 LEAD CASE NO.: 18-06044-LT11
          CLASS WAR, INC., [Case No. 19-00293-LT11, Jointly Administered]


         This matter came before the Court on the Chapter 11 Examiner’s Preliminary Report and
Request for Emergency Hearing (“Examiner’s Preliminary Report”)(docket # 327) and Motion of Jack
Schindler for Appointment of Chapter 11 Trustee (“Trustee Motion”)(docket # 196) on July 19, 2019,
in Department Three of the United States Bankruptcy Court for the Southern District of California, the
Honorable Laura S. Taylor, Bankruptcy Judge, presiding. David A. Ortiz, Esq., appeared on behalf of
the Acting United States Trustee; Christopher K.S. Wong, Esq., appeared on behalf of debtor Jesse
Wayne Dawber; Michael Breslauer, Esq., appeared on behalf of debtor Class War, Inc.; Donald A.
Vaughn, Esq., appeared on behalf of creditor Jack Schindler; Christopher Hawkins, Esq., appeared
on behalf of Drew Madasci and Lighthouse Strategic Group, Ltd.; Lauren Gans, Esq., appeared on
behalf of STFU Global, PTE, Ltd,; Jesse S. Finlayson, Chapter 11 Examiner, also appeared.
         Based upon the Examiner’s Preliminary Report, the Trustee Motion, argument of counsel, and
for the reasons as set forth on the record at the hearing, the Court hereby expands the powers of
chapter 11 examiner Jesse S. Finlayson (“Examiner”) in the Class War, Inc. case, as follows:
         1.    The Examiner shall identify transferred assets that may be recovered for the benefit of
either the Jesse Wayne Dawber estate (18-06044-LT11) and/or Class War, Inc., estate (19-00293-
LT11).
         2.    The Examiner shall provide an analysis of, and outline potential strategies for, recovery
of any transferred assets by either the Jesse Wayne Dawber estate (18-06044-LT11) and/or Class
War, Inc., estate (19-00293-LT11).


APPROVED AS TO FORM:


Solomon Ward Seidenwurm & Smith, LLP             Arent Fox, LLP


By: /s/ Michael D. Breslauer, Esq.               By:/s/ M. Douglas Flahaut, Esq.
Attorneys for Class War, Inc.                    Attorneys for Jesse Wayne Dawber


Vaughn & Vaughn


By:/s/ Donald A. Vaughn, Esq.
Attorneys for Jack Schindler




CSD 1001A
                                                                  Signed by Judge Laura Stuart Taylor July 26, 2019
